                                Case 18-14610             Doc 8      Filed 04/11/18            Page 1 of 2
                                               United States Bankruptcy Court
                                                   District of Maryland
In re:                                                                                                     Case No. 18-14610-MMH
3-D Concepts, LLC                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: jwhitfiel                    Page 1 of 1                          Date Rcvd: Apr 09, 2018
                                      Form ID: defntc                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 11, 2018.
db             +3-D Concepts, LLC,   1006 Parksley Ave,   Baltimore, MD 21223-3212

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 11, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 9, 2018 at the address(es) listed below:
              Marc A. Ominsky    marc@mdlegalfirm.com, adeal@mdlegalfirm.com,bkcourtmailmd@gmail.com
              Marc H. Baer    mbaer@waldmangrossfeld.com, md09@ecfcbis.com
                                                                                            TOTAL: 2
                              Case 18-14610         Doc 8     Filed 04/11/18        Page 2 of 2
                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                     In re:    Case No.: 18−14610 − MMH           Chapter: 7

3−D Concepts, LLC
Debtor


                                              DEFICIENCY NOTICE
DOCUMENT:                  1 − Chapter 7 Voluntary Petition Non−Individual. Fee Amount $335 Filed by 3−D Concepts,
                           LLC. (Ominsky, Marc)

PROBLEM:                   The following items are deficient for the above pleading, and must be cured by 4/23/18.

CURE:                      The Resolution of Board of Directors must be signed.


CONSEQUENCE: Failure to cure the problem(s) by the date above may result in the pleading being stricken or
             other action the Court deems appropriate without further notice. For a proposed order, the failure
             to cure the problem(s) may result in the relief sought being denied for want of prosecution.


Additional information on filing requirements: http://www.mdb.uscourts.gov/content/filing−requirements.
Additional information for non−attorney filers: http://www.mdb.uscourts.gov/content/after−filing.

Dated: 4/9/18
                                                                Mark A. Neal, Clerk of Court
                                                                by Deputy Clerk, Jennifer Whitfield
                                                                301−344−3326
cc:    Debtor
       Attorney for Debtor − Marc A. Ominsky

defntc (rev. 12/12/2016)
